      Case 3:18-cv-00080-SMR-SBJ Document 31 Filed 01/11/19 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 EASTERN DIVISION

                                               )
INTERVARSITY CHRISTIAN                         )             CASE NO. 3:18-CV-00080
FELLOWSHIP/USA, and INTERVARSITY )
GRADUATE CHRISTIAN FELLOWSHIP, )
                                               )
            Plaintiffs,                        )
                                               )
vs.                                            )
                                               )
THE UNIVERSITY OF IOWA; BRUCE                  )         DEFENDANTS’ RULE 56(d)
HARRELD, in his official capacity as           )        MOTION FOR CONTINUANCE
President of the University of Iowa and in his )
individual capacity; MELISSA S. SHIVERS, )
in her official capacity as Vice President for )
Student Life and in her individual capacity; )
WILLIAM R. NELSON, in his official             )
capacity as Associate Dean of Student          )
Organizations, and in his individual capacity;)
ANDREW KUTCHER, in his official                )
Capacity as Coordinator for Student            )
Organization Development; and THOMAS )
R. BAKER, in his official capacity as Student)
Misconduct and Title IX Investigator and in )
His individual capacity,                       )
                                               )
            Defendants.                        )
                                               )


       COME NOW Defendants, by and through counsel, and submit their Rule 56(d) Motion

for Continuance of the Court’s consideration of Plaintiff’s Motion for Partial Summary

Judgment, and state to the Court as follows:

       1.      Plaintiff filed her Petition in this matter on August 6, 2018.

       2.      Defendants filed an Answer on October 19, 2018.




                                                 1
        Case 3:18-cv-00080-SMR-SBJ Document 31 Filed 01/11/19 Page 2 of 3



        3.     The Scheduling Order and Discovery Plan in this matter was not filed until

November 2, 2018, and the Court entered its Scheduling and Trial Setting Order on November 7,

2018.

        4.     On December 13, 2018, prior to even exchanging Initial Disclosures, Plaintiff

filed its Motion for Partial Summary Judgment, along with thousands of supporting documents.

        5.     Defendants moved for a short extension of time to resist Plaintiff’s motion, and

the Court granted Defendants’ request.

        6.     On January 3, 2019, the Parties exchanged Initial Disclosures.

        7.     Upon review of Initial Disclosures and the voluminous documents provided

alongside Plaintiff’s Motion for Partial Summary Judgment, Defendants have determined that

they are unable to present some facts essential to justify their opposition to Plaintiff’s Motion.

See Fed. R. Civ. P. 56(d).

        8.     As such, Defendants move the Court for a continuance on its consideration of

Plaintiff’s Motion for Summary Judgment until such time that Defendants have received

Plaintiff’s written discovery responses and have had the opportunity to depose crucial witnesses

in the case.




                                                  2
       Case 3:18-cv-00080-SMR-SBJ Document 31 Filed 01/11/19 Page 3 of 3



       WHEREFORE, Defendants pray the Court grant their motion for continuance under

Federal Rule of Civil Procedure 56(d).

                                                            Respectfully submitted,

                                                            THOMAS J. MILLER
                                                            Attorney General of Iowa

                                                            /s/GEORGE A. CARROLL
                                                            George A. Carroll
                                                            Assistant Attorney General
                                                            Hoover Building, Second Floor
                                                            1305 East Walnut Street
                                                            Des Moines, Iowa 50319
                                                            PHONE: (515) 281-8583
                                                            FAX: (515) 281-7219
                                                            E-MAIL: George.carroll@ag.iowa.gov
                                                            ATTORNEYS FOR DEFENDANTS
Original filed electronically.
Copy electronically served on all parties of record.


                                                                          PROOF OF SERVICE
                                                   The undersigned certifies that the foregoing instrument was served upon
                                                 each of the persons identified as receiving a copy by delivery in the
                                                 following manner on January 11, 2019:

                                                          U.S. Mail                        FAX
                                                          Hand Delivery                   Overnight Courier
                                                          Federal Express                  Other
                                                          ECF System Participant (Electronic Service)

                                                 Signature: /s/Betty Christensen




                                                3
